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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Phoebe Wilson,                         )
                                       )
         Plaintiff,                    )
                                       )
         v.                            )         No. 14 C 6626
                                       )
Firstsource Advantage, LLC, a New York )         Judge Kocoras
limited liability company,             )
                                       )
         Defendant.                    )

                               NOTICE OF VOLUNTARY
                           DISMISSAL WITHOUT PREJUDICE

       Plaintiff, pursuant to settlement and F.R.C.P. Rule 41, hereby stipulates to the

dismissal of her claims against the Defendant, without prejudice.

Dated: September 8, 2014

One of Plaintiff’s Attorneys

/s/ David J. Philipps_______
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                             CERTIFICATE OF SERVICE

        I hereby certify that on September 8, 2014, a copy of the foregoing Notice of
Voluntary Dismissal without Prejudice was filed electronically. Notice of this filing
will be sent to the following parties by U.S. Mail, first class postage pre-paid, on
September 8, 2014, by 5:00 p.m.

James L. Duke, General Counsel
Firstsource Advantage, LLC
205 Bryant Woods South
Amherst, New York 14228

/s/ David J. Philipps__________

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